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 8

 9                             UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11

12   ARMINDA SEVILLA, individually and     )         Case No.
     on behalf of all other persons similarly
                                           )
13   situated, and on behalf of the general)         CLASS ACTION
     public,                               )
14                                         )         NOTICE OF REMOVAL OF
                   Plaintiff,              )         CIVIL ACTION TO THE UNITED
15                                         )         STATES DISTRICT COURT
          v.                               )
16                                         )         [28 U.S.C. §§ 1332, 1446, 1453]
     AARON’S, INC., a Georgia corporation; )
17   and DOES 1 through 30, inclusive,     )         [Los Angeles County Superior Court
                                           )         Case No. BC659590]
18             Defendants.                 )
                                           )         [Filed concurrently with Civil Case
19                                         )         Cover Sheet, Declaration of Keith
                                           )         Cooper, Certificate of Notice of
20                                         )         Interested Parties; Corporate
                                           )         Disclosure Statement]
21                                         )
                                           )         Complaint Filed: April 28, 2017
22                                         )
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                                     NOTICE OF REMOVAL / CASE NO.
     39270098v.1
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 1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
 2   OF CALIFORNIA AND TO PLAINTIFF AND HER COUNSEL OF RECORD:
 3            PLEASE TAKE NOTICE that Defendant AARON’S, INC. (“Defendant” or
 4   “Aaron’s”) hereby removes the above-captioned case from the Superior Court of the
 5   State of California, County of Los Angeles, to the United States District Court for the
 6   Central District of California, asserting original jurisdiction under 28 U.S.C. §§
 7   1332(d)(2) (the Class Action Fairness Act of 2005 (“CAFA”) and removal jurisdiction
 8   under 28 U.S.C. §§ 1441(a), 1446, and 1453.
 9                         PLEADINGS, PROCESSES, AND ORDERS
10            1.   On April 28, 2017, Plaintiff Arminda Sevilla filed a Class Action Complaint
11   for Damages (“Complaint”) in the Superior Court of California, County of Los Angeles
12   entitled: Arminda Sevilla, individually and on behalf of all other persons similarly
13   situated, and on behalf of the general public, Plaintiff v. Aaron’s Inc., a Georgia
14   Corporation, and Does 1 through 30, inclusive, Defendants, Case Number BC659590. A
15   true and correct copy of the Summons and Complaint is attached as Exhibit A.
16            2.   The Complaint purports to allege seven claims for relief. Plaintiff bases her
17   claims on alleged underpayment of overtime due to a failure to properly calculate the
18   regular rate of pay, failure to reimburse necessary business expenses, failure to provide
19   meal and rest breaks, failure to pay all wages owed on termination, failure to provide
20   accurate itemized wage statements, and alleged violations of the Unfair Competition Law
21   (“UCL”). (See, Compl.)
22            3.   The Complaint seeks to certify two classes. The first class is “All current
23   and former employees employed by DEFENDANTS in the State of California who were
24   compensated by the hour within four (4) years of the date of commencement of this
25   action through the date of the final disposition (“the Hourly Class”). (Compl. at ¶49(a).)
26   The second class is “All former employees of DEFENDANTS in California that did not
27   receive the timely payment of wages due and owing upon the termination of their
28   employment within four (4) years of the final date of the final disposition of this action
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 1   (the “Waiting Time Class”).” (Id. at ¶49(b).)1
 2            4.   On May 30, 2017, Defendant filed an Answer to Plaintiff’s Complaint in the
 3   Superior Court of California, County of Los Angeles. A true and correct copy of the
 4   answer is attached as Exhibit B.
 5            5.   Attached as Exhibit C are the remaining documents served on Defendant.
 6                                TIMELINESS OF REMOVAL
 7            6.   Plaintiff served the Summons and Complaint on May 1, 2017. This Notice
 8   of Removal is timely because it is filed within thirty (30) days of the service upon
 9   Defendant of a copy of the Summons and Complaint. See 28 U.S.C. § 1446(b); see also
10   Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 353-56 (1999) (thirty-
11   day removal period begins when defendant is formally served).
12       JURISDICTION UNDER THE CLASS ACTION FAIRNESS ACT (“CAFA”)
13            7.   This Court has original subject-matter jurisdiction over this action under
14   CAFA, codified in relevant part in 28 U.S.C. section 1332(d)(2). As set forth below, this
15   action is properly removable pursuant to 28 U.S.C. section 1441(a) because the alleged
16   amount in controversy exceeds $5,000,000, exclusive of interest and costs, and is a
17   purported class action in which a class member is a citizen of a State different from that
18   of Defendant (28 U.S.C. §§ 1332(d)(2) & (6)), and the number of putative class members
19
20   1
      Plaintiff also asserts that six subclasses exist. Those subclasses are: “(a) All Hourly
     Class members who were paid overtime premiums that were improperly calculated due to
21   DEFENDANTS’ failure to include all required compensation when calculating the
     regular rate of pay (“Overtime Subclass); (b) All hourly Class members who have
22   worked five (5) and/or ten (10) in a workday without being provided with an
     uninterrupted thirty (30) minute meal period and denied compensation for meal break
23   violations under California Labor sections 226.7, 512, and various IWC Wage Orders
     (“Meal Break Subclass”); (c) All Hourly Class members who worked three and a half (3
24   1/2) hours or more without being authorized or permitted to take a paid duty-free
     uninterrupted ten (10) minute rest break for every four hours of work or major fraction
25   thereof and denied compensation for rest break violations under California Labor Code
     section 226.7 and various IWC Wage Orders (“Rest Break Subclass”); (d) All Hourly
26   Class members who incurred necessary business-related expenses and costs that were not
     reimbursed (“Business Expense Reimbursement Subclass”); (e) All Hourly Class
27   members who were not provided with accurate itemized wage statements (“Itemized
     Wage Statement Subclass”); and (f) All Hourly Class members who were not provided
28   with final wages at the time of separation of employment (“Waiting Time Penalties
     Subclass”). (Compl. ¶50(a)-(f).)
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 1   is greater than 100. See 28 U.S.C. §§ 1332(d)(5)(B).
 2   I.       THERE IS MINIMAL DIVERSITY FOR REMOVAL UNDER CAFA
 3            8.    CAFA requires that “any member of a class of plaintiffs is a citizen of a
 4   State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).
 5            A.    Plaintiff Is a Citizen of California
 6            9.    For diversity purposes, a person is a “citizen” of the state in which she is
 7   domiciled. See Kantor v. Wellesly Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).
 8   Residence is prima facie evidence of domicile. State Farm Mut. Auto Ins. Co. v. Dyer,
 9   29 F.3d 514, 520 (10th Cir. 1994). Defendant is informed and believes, and on that basis
10   alleges, that Plaintiff was at all relevant times, and still is, domiciled in California.
11   Plaintiff’s last known address is in the city of Cathedral City, California. (See
12   Declaration of Keith Cooper (“Cooper Decl.”) at ¶10.) Thus, Plaintiff is, and has been at
13   all times since the institution of this action, a citizen of the State of California.
14            B.    Defendant Is Not a Citizen Of California
15            10.   The appropriate test to determine a corporation’s principal place of business
16   is the “nerve center” test. Hertz Corp. v. Friend, 130 S. Ct. 1181, 1192 (2010). Under
17   the “nerve center” test, the principal place of business is the state where the
18   “corporation’s officers direct, control, and coordinate the corporation’s activities” and
19   where the corporation maintains its headquarters. Id.
20            11.   Defendant is incorporated under the laws of the State of Georgia. (Cooper
21   Decl. at ¶11.) Defendant’s principal place of business is also located in Atlanta, Georgia,
22   which is where Defendant’s headquarters and executive offices are located, and where
23   Defendant’s high-level officers direct, control, and coordinate its activities. (Id.)
24            12.   Therefore, under Hertz, Defendant is a citizen of the State of Georgia.
25            C.    Doe Defendants’ Citizenship Must Be Disregarded
26            13.   Pursuant to 28 U.S.C. section 1441(a), the residence of fictitious and
27   unknown defendants should be disregarded for purposes of establishing removal
28   jurisdiction under 28 U.S.C. section 1332. Fristoe v. Reynolds Metals Co., 615 F.2d
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 1   1209, 1213 (9th Cir. 1980) (“[U]known defendants sued as “Does” need not be joined in
 2   a removal petition.”). Thus, the existence of Doe defendants 1 through 30, inclusive,
 3   does not deprive this Court of jurisdiction.
 4            14.   Accordingly, pursuant to 28 U.S.C. section 1332(c), Plaintiff and Defendant
 5   have diverse citizenship. Therefore, CAFA diversity is satisfied because at least one
 6   Plaintiff is diverse from Defendant.
 7            D.    There Are More Than 100 Putative Class Members
 8            15.   CAFA requires that the aggregated number of members of all proposed
 9   classes in a complaint be at least 100. See 28 U.S.C. § 1332(d)(5)(B).
10            16.   As mentioned, Plaintiff’s purported Hourly Class seeks to certify a class
11   consisting of “All current and former employees employed by DEFENDANTS in the
12   State of California who were compensated by the hour within four (4) years of the date of
13   commencement of this action through the date of the final disposition (“the Hourly
14   Class”).” (Compl. at ¶49(a).)
15            17.   From April 28, 2013 to May 26, 2017, there were 988 employees who fall
16   within the putative class defined by Plaintiff. (Cooper Decl. at ¶5.) Thus, on this basis
17   alone, the requisite number of at least 100 putative class members is satisfied.
18            18.   Moreover, Plaintiff alleges a purported Waiting Time Class consisting of
19   “All former employees of DEFENDANTS in California that did not receive the timely
20   payment of wages due and owing upon the termination of their employment within four
21   (4) years of the final date of the final disposition of this action (the “Waiting Time
22   Class”).” (Compl. at ¶49(b).)
23            19.   From April 28, 2014 to May 26, 2017, there were 606 terminated employees
24   that fall within the above class definition. (Cooper Decl. at ¶7.)2 Thus, even including
25   only the Waiting Time Class, the required number of at least 100 putative class members
26   is met here as well.
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       Plaintiff’s class definition is overbroad as it includes employees beyond the statute of
28   limitations for a claim under Labor Code § 203, which cannot be extended by the UCL
     claim.
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 1            E.    Plaintiff’s Claims Place More Than $5,000,000 In Controversy
 2            20.   While Defendant denies any liability as to Plaintiff’s claims, the amount in
 3   controversy as alleged in the Complaint exceeds $5,000,000. All calculations supporting
 4   the amount in controversy are based on the Complaint’s allegations (along with other
 5   documents as identified herein), assuming without any admission, the truth of the
 6   allegations, and assuming liability (which Defendant disputes) is established. Likewise,
 7   these calculations are based on the putative classes alleged in the Complaint, and in no
 8   way indicate that class treatment is appropriate in this case, or that Plaintiff has standing
 9   to represent any such class, or that the classes proposed would meet the requirements set
10   forth in Rule 23 of the Federal Rules of Civil Procedure. Defendant expressly reserves
11   the right to challenge Plaintiff’s claims, adequacy and standing to represent any class,
12   class definitions, and calculation of damages in all respects. However, for purposes of
13   removal, Defendant bases its calculations on the allegations, facts known to Defendant,
14   and class definitions pleaded by Plaintiff.
15            21.   Under CAFA, the claims of the individual members in a class action are
16   aggregated to determine if the amount in controversy exceeds the sum or value of
17   $5,000,000. See 28 U.S.C. § 1332(d)(6). Congress intended federal jurisdiction to be
18   appropriate under CAFA “if the value of the matter in litigation exceeds $5,000,000
19   either from the viewpoint of the plaintiff or the viewpoint of the defendant, and
20   regardless of the type of relief sought (e.g., damages, injunctive relief, or declaratory
21   relief).” Sen. Jud. Comm. Rep., S. REP. 109-14, at 42. Moreover, any doubts regarding
22   the maintenance of interstate class actions in state or federal court should be resolved in
23   favor of federal jurisdiction. S. Rep. 109-14, at 42-43 (“[I]f a federal court is uncertain
24   about whether ‘all matters in controversy’ in a purported class action ‘do not in the
25   aggregate exceed the sum or value of $5,000,000, the court should err in favor of
26   exercising jurisdiction over the case . . . . Overall, new section 1332(d) is intended to
27   expand substantially federal court jurisdiction over class actions. Its provisions should be
28   read broadly, with a strong preference that interstate class actions should be heard in a
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 1   federal court if properly removed by any defendant.”).
 2            22.   To establish that the amount in controversy exceeds the jurisdictional
 3   amount, the defendant must only make a plausible claim that the amount in controversy
 4   exceeds that amount. Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547
 5   (2014).
 6            23.   As Plaintiff has not alleged her particular damages, reasonable estimates of
 7   the alleged amount in controversy are appropriate. As such, Courts may assume a 100%
 8   violation rate in calculating the amount in controversy for removal purposes when a more
 9   precise calculation is not apparent on the face of the complaint. See, e.g., See, e.g.,
10   Coleman v. Estes Express Lines, Inc., 2010 U.S. Dist. LEXIS 79772 at *18-19 (C.D. Cal.
11   2010) (“Plaintiff included no limitation on the number of violations, and, taking his
12   complaint as true, Defendants could properly calculate the amount in controversy based
13   on a 100% violation rate”); Muniz v. Pilot Travel Centers LLC., Case No. S-07-0325,
14   2007 WL 1302504, * at 4 (E.D. Cal. May 1, 2007) (“Plaintiff is the ‘master of [her]
15   claim[s],’ and if she wanted to avoid removal, she could have alleged facts specific to her
16   claims which would narrow the scope of the putative class or the damages sought” to
17   indicate a violation rate smaller than 100%).
18            24.   Moreover, a plaintiff cannot evade federal jurisdiction by alleging that the
19   amount in controversy falls below the jurisdictional minimum. Standard Fire Ins. Co. v.
20   Knowles, 133 S.Ct. 1345, 1350 (2013); Rodriguez v. AT&T Mobility Services LLC, 728
21   F.3d 975, 978-82 (9th Cir. 2013).
22                  1.    Rest Break Claims
23            25.   In her Rest Break claim, Plaintiff alleges that Defendant did not provide her
24   or the putative class members with rest breaks and required them to work through their
25   entire shift without any rest breaks. (Compl. at ¶74.) Plaintiff also alleges that Defendant
26   failed to maintain lawful rest break policies and required class members to work through
27   their breaks. (Id. at ¶4.) Plaintiff further says that Defendant maintained a system-wide
28   policy of failing to pay employees rest break premiums for missed or shortened breaks.
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 1   (Id. at ¶25.) As a result of these allegations, assuming a 100% violation rate is
 2   reasonable.
 3            26.   As to this claim, Plaintiff seeks to certify a class covering the last four years.
 4   The average hourly rate for Defendant’s hourly non-exempt employees April 28, 2013 to
 5   May 26, 2017 is $12.22. (Cooper Decl. at ¶6.) The approximate number of workweeks
 6   for these employees for that same period was 56,439. (Id.) Conservatively assuming that
 7   each putative class member missed two rest periods per workweek, the putative class rest
 8   period damages from April 28, 2013 to May 26, 2017 would be approximately
 9   $1,379,369.16 [$12.22/hour x 2 violations x 56,439 workweeks]. Thus, a conservative
10   estimate of the amount in controversy for Plaintiff’s rest break claims alone is
11   approximately $1,379,369.16.3
12                  2.    Meal Break Claim
13            27.   In her Meal Break claim, Plaintiff alleges that Defendant did not provide her
14   or the putative class members with time to take off-duty thirty (30) meal breaks during
15   their work shifts. (Compl. at ¶82.) Plaintiff goes on to say that this “regularly” happened
16   because Plaintiff and the putative class were required to work during or through their
17   meal breaks. (Id.) Plaintiff also alleges that Defendant failed to maintain lawful meal
18   break policies and again says that Defendant required class members to work through
19   their breaks. (Id. at ¶4.) Plaintiff further says that Defendant maintained a system-wide
20   policy of failing to pay employees meal break premiums for missed or shortened breaks.
21   (Id. at ¶25.) As a result of these allegations, assuming a 100% violation rate is also
22   reasonable.
23            28.   As to this claim, Plaintiff seeks to certify a class covering the last four years.
24   The average hourly rate for Defendant’s hourly non-exempt employees April 28, 2013 to
25   May 26, 2017 is $12.22. (Cooper Decl. at ¶6.) The approximate number of workweeks
26   for these employees for that same period was 56,439. (Id.) Conservatively assuming that
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      Given Plaintiff’s allegations, it would be plausible to assume a 100% violation rate.
28   Thus, assuming 5 missed rest breaks each workweek, the damages for Plaintiff’s rest
     break claim would be $3,448,422.90.
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 1   each putative class member missed two meal periods per workweek, the putative class
 2   rest period damages from April 28, 2013 to May 26, 2017 would be approximately
 3   $1,379,369.16 [$12.22/hour x 2 violations x 56,439 workweeks]. Thus, a conservative
 4   estimate of the amount in controversy for Plaintiff’s meal break claims alone is
 5   approximately $1,379,369.16.4
 6                  3.    Waiting Time Penalties
 7            29.   Plaintiff’s sixth claim for relief alleges that Defendant must pay waiting time
 8   penalties under Labor Code § 203 for failure to pay all wages owed upon termination.
 9   (Compl. at ¶¶91-103.) Labor Code section 203 authorizes penalties of one day of pay for
10   each day the employer fails to pay the wages due for a maximum of 30 days. Cal. Lab.
11   Code § 203(a). Plaintiff seeks this relief on behalf of the “Waiting Time Class” — which
12   Plaintiff improperly defines as four years prior to the filing of the lawsuit because the
13   proper statute of limitations is three years. (Compl. at ¶49(b).) From April 28, 2014
14   through May 26, 2017, there were approximately 606 terminated putative class members.
15   (Cooper Decl. at ¶7.) The average hourly rate for those employees was approximately
16   $12.14. (Id. at ¶8.) Accordingly, although Defendant disputes liability, a reasonable
17   estimate of the amount in controversy for section 203 penalties is $1,745,208.00
18   [$12.00/hour x 8 hours/day x 30 days x 606 class members].
19                  4.    Inaccurate Wage Statement Claim
20            30.   Plaintiff also alleges that Defendant failed to provide her and the putative
21   class with accurate wage statements because of her alleged overtime and meal/rest break
22   claims. (Compl. at ¶¶85-90.) Given Plaintiff’s allegations regarding her meal and rest
23   break claims, it is reasonable to assume a 100% violation rate for the applicable statute of
24   limitations, which is one-year (even though Plaintiff improperly seeks to certify a class of
25   four years). The total number of hourly employees for Defendant in California from
26   April 28, 2016 to May 26, 2017 is 485. (Cooper Decl. at ¶9.) The total number of pay
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     4
      As with the rest break claim, given Plaintiff’s allegations, it would be plausible to
28   assume a 100% violation rate. Thus, assuming 5 missed meal breaks each workweek, the
     damages for Plaintiff’s meal break claim would be $3,448,422.90.
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 1   periods for these employees during this time period is 7,129. (Id.) The penalties under
 2   Labor Code § 226 are $50 for the first violation and $100 for each subsequent violation.
 3   Assuming a 100% violation rate, a reasonable estimate for Plaintiff’s inaccurate wage
 4   statement claim would be $688,650.00 [ (485 x $50) + (6,644 x $100)].
 5                  5.    Regular Rate Overtime Claim
 6            31.   Plaintiff alleges that Defendant violated the overtime provisions of the
 7   California Labor Code because it supposedly failed to include commissions and bonuses
 8   in the regular rate of pay used to calculate overtime payments made to Plaintiff and the
 9   putative class members. (Compl. at ¶¶ 63(a).) But her allegations as to the value of these
10   claims are unclear. Needless to say, Plaintiff’s overtime claims only increase the amount
11   in controversy—even based on minimal assumptions.
12            32.   For example, assuming the following low figures for the Hourly Class, one
13   hour of overtime per week and an additional $1.00 in the regular rate, the California
14   overtime claims would be worth an additional: $56,439.00. ($1.00 (under payment per
15   hour of OT) x 1 (OT Hours) x 56,439 (workweeks for Hourly Class)). But Plaintiff’s
16   allegations of systematic violations and that Defendant failed to include commissions and
17   bonuses suggest that she thinks this number is much higher.
18            33.   Thus, even before taking into account any attorneys’ fees (and not taking
19   into account Plaintiff’s business expense reimbursement claims), a very conservative
20   estimate of Plaintiff’s claims reveals that the total amount in controversy is
21   $5,249,107.32. And using a 100% violation rate for Plaintiff’s meal and rest break
22   claims, the total amount in controversy would be $9,387,214.80.
23                  6.    Attorneys’ Fees
24            34.   The Complaint also seeks attorneys’ fees under all seven purported claims.
25   (Compl. at Prayer.) Requests for attorneys’ fees may be taken into account in
26   ascertaining the amount in controversy for purposes of removal. Longmire v. HMS Host
27   U.S., Inc., Case No., 12-cv-2203, 2012 WL 5928485, at * 9 (S.D. Cal. Nov. 26, 2012)
28   (“[C]ourts may take into account reasonable estimates of attorneys’ fees likely to be
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 1   incurred when analyzing disputes over amount in controversy under CAFA.”) (citing
 2   Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D. Cal. 2002));
 3   Muniz v. Pilot Travel Centers LLC, 2007 U.S. Dist. LEXIS 31515, at *15 (E.D. Cal. Apr.
 4   30, 2007) (attorneys’ fees appropriately included in determining amount in controversy).
 5            35.   In the class action context, courts have found that 25% of the aggregate
 6   amount in controversy is a benchmark for attorneys’ fees awards under the “percentage
 7   of fund” calculation and courts may depart from this benchmark when warranted. See
 8   Campbell v. Vitran Exp., Inc., 471 F. App’x 646, 649 (9th Cir. 2012) (attorneys’ fees are
 9   appropriately included in determining amount in controversy under CAFA); Powers v.
10   Eichen, 229 F.3d 1249, 1256-57 (9th Cir. 2000); Wren v. RGIS Inventory Specialists,
11   2011 U.S. Dist. LEXIS 38667 at *78-84 (N.D. Cal. Apr. 1, 2011) (finding ample support
12   for adjusting the 25% presumptive benchmark upward and found that plaintiffs’ request
13   for attorneys’ fees in the amount of 42% of the total settlement payment was appropriate
14   and reasonable in the case); Cicero v. DirecTV, Inc., 2010 U.S. Dist. LEXIS 86920 at
15   *16-18 (C.D. Cal. July 27, 2010) (finding attorneys’ fees in the amount of 30% of the
16   total gross settlement amount to be reasonable); see also In re Quintas Securities
17   Litigation, 148 F. Supp. 2d 967, 973 (N.D. Cal. 2001) (noting that in the class action
18   settlement context the benchmark for setting attorneys’ fees is 25% of the common fund).
19            36.   Thus, even under the conservative benchmark of 25% of the total recovery,
20   attorneys’ fees based on the amount in controversy established above using conservative
21   estimates is $1,312,276.83 [$5,249,107.32 x .25]. And using the amount in controversy
22   assuming a 100% violation rate on Plaintiff’s meal and rest break claims, the attorneys’
23   fees would be $2,346,803.70 [$9,387,214.80 x .25].
24            37.   Accordingly, adding these numbers to both the conservative estimate and the
25   estimate that assumes a 100% violation rate on meal and rest break claims, the total
26   amount in controversy is either $6,561,384.15 (conservative) or $11,734,018.50 (100%
27   violation rate). Therefore, the amount Plaintiff has placed in controversy easily satisfies
28   CAFA’s $5,000,000 requirement.
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 1                                               VENUE
 2            38.   Venue lies in the United States District Court for the Central District of
 3   California pursuant to 28 U.S.C. sections 1441, 1446(a), and 84(c)(2). This action
 4   originally was brought in the Superior Court of the State of California, County of Los
 5   Angeles. Therefore, it is properly removed to this district.
 6                                    NOTICE OF REMOVAL
 7            39.   This Notice of Removal will be promptly served on Plaintiff and filed with
 8   the Clerk of the Superior Court of the State of California in and for the County of Los
 9   Angeles.
10                                   PRAYER FOR REMOVAL
11            WHEREFORE, Defendant prays that this civil action be removed from the
12   Superior Court of the State of California, County of Los Angeles to the United States
13   District Court for the Central District of California.
14   DATED: May 31, 2017                           Respectfully submitted,
15                                                 SEYFARTH SHAW LLP
16
                                                   By: /s/ Christian J. Rowley
17                                                    Christian J. Rowley
                                                      Andrew M. McNaught
18                                                    Michael W. Stevens
19                                                 Attorneys for Defendant
                                                   AARON’S, INC.
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